Commercial Shearing &amp; Stamping Company, Petitioner, v. Commissioner of Internal Revenue, RespondentCommercial Shearing &amp; Stamping Co. v. CommissionerDocket Nos. 76778, 84338, 85427United States Tax Court36 T.C. 433; 1961 U.S. Tax Ct. LEXIS 137; May 26, 1961, Filed *137 Decisions will be entered under Rule 50.  Filing by petitioner corporation and its subsidiaries of a consolidated return for its first fiscal year after enactment of 1954 Code but under applicable 1939 Code regulations, held, not to preclude new election to file separate returns for following year after promulgation of new and less favorable regulations under 1954 Code.  Donald J. Lynn, Esq., and Robert G. Skinner, Esq., for the petitioner.William O. Allen, Esq., for the respondent.  Opper, Judge*138  .  OPPER*433  In these consolidated proceedings respondent determined deficiencies in petitioner's income tax for fiscal years ended October 31, 1955, 1956, and 1957, in the respective amounts of $ 38,419.11, $ 82,672.01, and $ 77,587.21.  The deficiency notice as to fiscal 1956 was addressed to petitioner and its "subsidiaries," Commercial Shearing &amp; Stamping, Inc.Commercial Shearing &amp; Stamping Corporation.O'Leary Steel Works, Inc.The subsidiaries are hereinafter referred to as Inc., Corporation, and O'Leary, respectively.  Some of the adjustments made by respondent *434  have been conceded by petitioner and the only remaining issue is whether petitioner was entitled to file separate Federal income tax returns for the respective taxable years ending on the above dates.FINDINGS OF FACT.Some of the facts are stipulated and are so found.Petitioner is a corporation organized under the laws of the State of Ohio, with its principal office located in Youngstown, Ohio.  States of incorporation and locations of the principal offices of its affiliates are as follows:State ofLocation ofNameincorporationprincipal officeInc.DelawareChicago, IllinoisCorporationNew YorkYoungstown, OhioO'LearyIllinoisChicago, Illinois*139  During the taxable years here involved, petitioner owned 100 percent of all the stock of Inc. and 100 percent of the voting stock of Corporation.  During the same period, Inc. owned 100 percent of the voting stock of O'Leary.On or before April 15, 1955 (after properly filing a request for an extension of time in which to file), petitioner weighed the tax advantages involved in filing a consolidated return as opposed to separate returns, and filed a consolidated Federal income tax return on behalf of itself and its affiliates, Inc., Corporation, and O'Leary, for the taxable year ended October 31, 1954, with the district director of internal revenue, Cleveland, Ohio.  Attached to this return were three Forms 1122, "Return of Information and Authorization and Consent of Subsididary Corporation Included in a United States Consolidated Income Tax Return," by which each of the aforementioned affiliated corporations consented to be bound by the applicable consolidated return regulations. The Form 1122 filed by petitioner contained the following:The above-named subsidiary corporation hereby authorizes the above-named common parent corporation (or in the event of its failure, the Commissioner*140  or the district director) to make a consolidated income tax return on its behalf for the taxable year for which this form is filed, and for each taxable year thereafter that a consolidated return must be made under the provisions of the consolidated income tax regulations.The above-named subsidiary corporation, in consideration of the privilege of joining in the making of a consolidated return with the above-named common parent corporation, hereby consents to and agrees to be bound by the provisions of the above-mentioned regulations. This consent is applicable to the taxable year for which this form is filed and to each taxable year thereafter that a consolidated return must be made under the provisions of the consolidated income tax regulations.Among the factors taken into consideration by petitioner and its affiliates, which are accrual basis taxpayers, in making the decision to *435  file a consolidated Federal income tax return for the taxable year ended October 31, 1954, was the presence of sections 452 and 462 in the Internal Revenue Code of 1954.In a letter dated March 16, 1956, supplemented by a subsequent letter dated April 19, 1956, petitioner requested a ruling*141  from respondent permitting it and its affiliates, Inc., Corporation, and O'Leary, to file separate returns for the taxable year ended October 31, 1955.  Under date of May 7, 1956, respondent replied denying petitioner's request.  In spite of respondent's denial, on or before July 15, 1956 (after properly filing a request for an extension of time), petitioner and its affiliates, Inc., Corporation, and O'Leary, filed separate Federal income tax returns with the district directors of internal revenue as follows:Location of districtdirector's officewhere separateFederal income taxTaxpayerreturn was filedPetitionerCleveland, OhioIncChicago, IllinoisCorporationNew York, New YorkO'LearyChicago, IllinoisOn or before April 15, 1957 (after again properly filing a request for an extension of time), petitioner and its affiliates, Inc., Corporation, and O'Leary, filed separate Federal income tax returns for the taxable year ended October 31, 1956, with the same district directors of internal revenue as previously mentioned.On December 6 and 7, 1956, petitioner acquired all of the outstanding stock of Industrial Engineering, Inc., hereinafter referred to as*142 Industrial, an Ohio corporation, in order to preserve the company's corporate name for its possible future use.  The total purchase price of the stock was $ 256.25.  Industrial has at all times since December 6, 1956, been inactive, having no tangible assets and engaging in no business activities.  No further contributions of capital have been made to Industrial aside from annual payments of Ohio State franchise taxes made by petitioner in behalf of Industrial in the annual amounts of $ 25 for 1957, 1958, and 1959, and $ 50 for 1960.On May 23, 1957, petitioner organized Commercial Hydraulics, Inc., hereinafter referred to as Hydraulics, as a business corporation under the laws of the State of Ohio.  At that time, petitioner acquired all of the outstanding stock of Hydraulics for $ 500.  Hydraulics has at all times since May 23, 1957, been inactive. No further contributions of capital have been made to Hydraulics aside from the same annual payments of Ohio State franchise taxes as in the case of Industrial.On or before April 15, 1958, petitioner and its affiliated companies timely filed separate Federal income tax returns for the taxable year ended October 31, 1957, as follows: *143 *436 Location of districtdirector's officewhere separateFederal income taxTaxpayerreturns were filedPetitionerCleveland, OhioCorporationNew York, New YorkO'LearyChicago, IllinoisCommercial Hydraulics, IncCleveland, OhioIncChicago, IllinoisOn March 12, 1958, Industrial requested that it be relieved from the necessity of filing Federal income tax returns on the ground that it was an inactive corporation.  The district director of internal revenue, Cleveland, Ohio, granted this request on April 2, 1958.  Industrial has not filed Federal income tax returns since its acquisition by petitioner.The deficiencies herein were determined by consolidating the income of petitioner and its affiliates on the ground that they were not entitled to file separate returns.OPINION.When petitioner, for fiscal 1954, filed its first consolidated return under the 1954 Code, the regulations expressly referred to in sections 1501 and 1502, I.R.C. 1954, 1 had not yet been promulgated. One of the statutory prerequisites for the filing of a consolidated return was that the taxpayers "consent to all the consolidated return regulations."*144  After the regulations under the 1954 Code were promulgated and the time arrived for petitioner and its affiliates to file their returns for fiscal 1955, they failed to file such consent, or to do the act which the statute and regulations consider the equivalent thereof, namely, to file a consolidated return. 2 We think that, even if, unlike the present situation, there were no more to a case than this, the enactment of a new revenue act, coupled with the issuance of new regulations, *437  might well give to a taxpayer and its affiliates a new election, so that it should not be assumed that Congress intended them "to buy a pig in a poke." In Cereal Products Refining Corporation, 39 B.T.A. 92"&gt;39 B.T.A. 92 (1939), we said (p. 97):It is not material to explore the legislative history of the consolidated returns provisions in the various revenue acts excepting to point out that it is clear that Congress has allowed corporations a new election from time to time as the law has been changed and that when Congress intended that there should not be a new election under a new act it has so stated in the new act.  * * * Thus, we understand that whatever may have been*145  the requirement under a specific revenue act and under approved regulations of the Commissioner, it has been recognized that there is a new election when the revenue act is changed, unless the new revenue act specifies otherwise.  (Cf. section 142 of the 1928 Act.) We believe Congress has intended that this should be the procedure.  [Emphasis added.]And at page 99:Where there are two methods of making income tax return available to corporations which involve a choice between two possibly different tax liabilities, it is reasonable that corporations should consider the practical aspects of the election to make separate returns or consolidated returns.  Certainly, since the 1928 Act, Congress has allowed affiliated corporations freedom to entertain such considerations.See Lucas v. Sterling Oil &amp; Gas Co., 62 F. 2d 951 (C.A. 6, 1933).*146  The Commissioner was not required to issue the same regulations under the 1954 Code as those previously in effect.  Helvering v. Reynolds Co., 306 U.S. 110"&gt;306 U.S. 110 (1939). The new regulations could have differed either more or less favorably to affiliated groups, and in fact, in the situation before us, they were altered in numerous respects.The most important change was the addition of the word "substantially" to the description of unfavorable amendments to the regulations justifying a new election in the future.  The new consolidated return regulations, promulgated August 29, 1955, after requiring that an election made in one year would be binding for the future, continues:unless * * * (2) subsequent to the exercise of the election to make consolidated returns * * * the regulations under section 1502 which have been consented to, have been amended and any such amendment is of a character which makes substantially less advantageous to affiliated groups as a class the continued filing of consolidated returns * * * [Income Tax Regs., sec. 1.1502-11, T.D. 6140, 2 C.B. 317"&gt;1955-2 C.B. 317, 324; emphasis added.]The*147  addition of the emphasized word "substantially" was apparently a deliberate and significant change from the previous regulation. But there was nothing in the language of the 1954 Code, particularly section 1502, as finally enacted, which would serve as any sort of precautionary signal to a consolidated group that any difference in the regulation was in contemplation.*438  The addition of the concept that any unfavorable change would have to be "substantial" before it would justify a new election was itself an unfavorable alteration in the rights and commitments of affiliated groups as a whole.  It could well go to the essence of the criteria to be considered by an affiliated group in coming to a decision as to whether or not to elect for the first time, and for all future years, the method of consolidated returns.  The likelihood of being committed for a longer time and under a more stringent test must necessarily be unfavorable. But it need not be "substantially" unfavorable because in the 1939 Code regulation that requirement did not appear.Petitioner's failure to accept the new regulations, by refusing to file any consolidated return in the first year after their promulgation, *148  of course eliminates any binding effect of these regulations on petitioner and its affiliates. And as we have seen, the previous regulations, kept in effect by the "stopgap" 3 regulations, T.D. 6091, 2 C.B. 47"&gt;1954-2 C.B. 47, under which the 1954 consolidated return was necessarily filed, did not contain the word "substantially." We are hence not required to determine whether the insertion of the word "substantially" was itself a substantial change.  It suffices that it was, at least to some extent, an unfavorable change and must consequently, under respondent's own regulations, be regarded as adequate justification for a new election.*149  For the reasons stated, and without being required to consider other alternative contentions advanced by petitioner, we conclude that under the circumstances shown the issuance of the new regulation prior to the filing of petitioner's first return thereunder permitted it to elect, and that since it did so, that election must be respected.  The deficiencies, accordingly, seem to us to have been erroneous.Decisions will be entered under Rule 50.  Footnotes1. SEC. 1501.  PRIVILEGE TO FILE CONSOLIDATED RETURNS.An affiliated group of corporations shall * * * have the privilege of making a consolidated return * * * in lieu of separate returns. The making of a consolidated return shall be upon the condition that all corporations which at any time during the taxable year have been members of the affiliated group consent to all the consolidated return regulations prescribed under section 1502 prior to the last day prescribed by law for the filing of such return.  The making of a consolidated return shall be considered as such consent.  * * *SEC. 1502.  REGULATIONS.The Secretary * * * shall prescribe such regulations as he may deem necessary in order that the tax liability of any affiliated group of corporations making a consolidated return and of each corporation in the group * * * may be returned, determined, computed, assessed, collected, and adjusted, in such manner as clearly to reflect the income-tax liability and the various factors necessary for the determination of such liability, and in order to prevent avoidance of such tax liability.↩2. Income Tax Regs.: Sec. 1.1502-1 Privilege of Making Consolidated Returns. -- (a) Section 1501 gives * * * the privilege of making a consolidated income tax return * * * upon the condition that all corporations which have been members of the affiliated group * * * consent to the regulations under section 1502 applicable to such taxable year and any amendments thereof duly prescribed prior to the last day prescribed by law for the filing of the return; and the making of the consolidated return is considered as such consent↩.  [Emphasis added.]3. Stopgap Regulations. T.D. 6091↩ * * * 1.  All regulations * * * applicable under any provision of law in effect on the date of enactment of the [1954] Code, to the extent such provision of law is repealed by the Code, are hereby prescribed under and made applicable to the provisions of the Code corresponding to the provision of law so repealed insofar as any such regulation is not inconsistent with the Code * * * until superseded by regulations issued under the Code.